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                 Case Nos. 2021-2299, -2338
              ________________________________

         UNITED STATES COURT OF APPEALS
            FOR THE FEDERAL CIRCUIT
            ________________________________

   COLUMBIA SPORTSWEAR NORTH AMERICA, INC.,
                Plaintiff-Appellant,

                               v.

      SEIRUS INNOVATIVE ACCESSORIES, INC.,
              Defendant-Cross-Appellant.
            ______________________________

        Appeals from the United States District Court
            for the Southern District of California
    Case No. 3:17-cv-01781-HZ, Judge Marco A. Hernandez
                 ___________________________

CORRECTED OPENING BRIEF OF PLAINTIFF-APPELLANT
   COLUMBIA SPORTSWEAR NORTH AMERICA, INC.
           ______________________________

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                    CERTIFICATE OF INTEREST

     Pursuant to Federal Circuit Rule 47.4, counsel for Plaintiff-

Appellant Columbia Sportswear North America, Inc. certifies:

     1.    The full name of every party or amicus curiae represented by

me is: Columbia Sportswear North America, Inc.

     2.    The name of the real party in interest (if the party named in

the caption is not the real party in interest) represented by me is: Not

Applicable.

     3.    All parent corporations and any publicly held companies that

own 10 percent of more of the stock of the party or amicus curiae

represented by me are: Columbia Sportswear Company

     4.    The names of all law firms and the partners or associates that

appeared for the party now represented by me in the trial court or agency

or amicus curiae, or are expected to appear in this Court, are:

     SCHWABE, WILLIAMSON & WYATT P.C.:              Jason A. Wrubleski,

David R. Boyajian, David W. Axelrod, Devon Z. Newman, Brenna

K. Legaard, and Angela E. Addae.

     STOEL RIVES LLP:       Brian Nese.




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     5.    The title and number of any case known to counsel to be

pending in this or any other court or agency that will directly affect or be

directly affected by this court’s decision in the pending appeal is:

Columbia Sportswear North America, Inc. and Columbia

Sportswear Company v. Ventex Co., Ltd., U.S.D.C. D. OR. No. 3:17-

cv-00623-MO.

     6.    Organizational victims in criminal cases and debtors and

trustees in bankruptcy cases: Not Applicable.

     Dated this 13th day of January, 2022.

                                   /s/ Nika Aldrich
                                   Nika Aldrich
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                 STATEMENT OF RELATED CASES

     This is the second appeal to this Court in this patent dispute. The

decision following the first appeal is reported at Columbia Sportswear

North Am., Inc. v. Seirus Innovative Accessories, Inc., 942 F.3d 1119 (Fed.

Cir. 2019) (“Columbia I”). No other appeal from this case has been before

this Court or any other appellate court in the United States.

     In April 2017, plaintiff-appellant Columbia Sportswear North

America, Inc. (“Columbia”) and its affiliates filed suit against Ventex Co.,

Ltd. (“Ventex”) in the United States District Court for the District of

Oregon, accusing Ventex and its agent of infringing the patent at issue

in this appeal. That case, which is captioned Columbia Sportswear North

America, Inc., et al. v. Ventex Co., Ltd, et al., Case No. 3:17-cv-00623 (D.

Or.), is stayed pending the outcome of this appeal.

     Counsel is unaware of any other case that will directly affect, or will

be directly affected by, this Court’s decision in this appeal.

                  STATEMENT OF JURISDICTION

     The district court had jurisdiction under 28 U.S.C. § 1331 and

§ 1338(a). The district court entered final judgment on August 20, 2021.

Columbia timely filed a notice of appeal on September 7, 2021. This



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Court has jurisdiction under 28 U.S.C. § 1291 and § 1295(a)(1).

                    STATEMENT OF THE ISSUES

(1)   As a matter of first impression for the Court, and in view of this

      Court’s recent decision in In re Surgisil, L.L.P., 14 F.4th 1380, 1382

      (Oct. 4, 2021), what is the relevant scope of “comparison prior art”

      that is to be considered in a design patent infringement analysis

      under Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678-79

      (Fed. Cir. 2008) (en banc)?

(2)   Whether the district court erred in instructing the jury that all

      prior patents are comparison prior art to a design patent, and in

      failing to instruct the jury to limit the scope of comparison prior art

      for the design infringement analysis to “heat reflective materials,”

      which is the article of manufacture identified in the claim of the

      asserted U.S. Patent D657,093 (D’093 Patent)?

(3)   Whether, in the alternative, the district court erred in failing to

      instruct that “the scope of prior art” to a design patent is limited to

      “designs of the same article of manufacture or of articles so similar

      that a person of ordinary skill would look to such articles for their

      designs,” as this Court held in Hupp v. Siroflex of Am., Inc., 122



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      F.3d 1456, 1462 (Fed. Cir. 1997).

(4)   Whether the district court erred in prohibiting Columbia from

      distinguishing prior art on grounds that it failed to disclose a “heat

      reflective material,” which is the article of manufacture identified

      in the claim of D’093 Patent?

(5)   Where the Gorham standard applicable to design patent

      infringement concerns “deceiving” a consumer concerning products

      available for “purchase,” and where (a) Columbia did not sell a

      patented product for purchase, and where (b) Seirus applied its

      brand name to its products, whether the district court erred in

      failing to instruct the jury that:

      a.   “Likelihood of confusion,” or “confusion as to the source or

           provider of the goods accused of infringing is irrelevant to

           determining whether a patent is infringed,” as this Court held

           in Braun Inc. v. Dynamics Corp. of Am., 975 F.2d 815, 820 (Fed.

           Cir. 1992), and Unette Corp. v. Unit Pack Co. Inc., 785 F.2d

           1026, 1029 (Fed. Cir. 1986); and

      b.   “Labelling a product with source identification or branding does

           not avoid infringement,” as this Court held in L.A. Gear, Inc. v.



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          Thom McAn Shoe Co., 988 F.2d 1117, 1126 (Fed. Cir. 1993).

                     STATEMENT OF THE CASE

I.   Background

     This case concerns Columbia’s groundbreaking “heat reflective

material,” which is sold under the trademark Omni-Heat®. The Omni-

Heat® product line has earned Columbia wide acclaim in the market and

over $1 billion in sales since it was launched in 2010. (Appx131.)

     Heat reflective materials derive from NASA’s invention of the space

blanket, a thin sheet of highly reflective metal foil that reflects the

wearer’s heat back to them. The clothing industry has long since used

heat reflective materials in apparel. (Appx617-618.) But, although the

metal foil is highly heat reflective, it disadvantageously blocks the

transfer of moisture vapor away from the wearer.                This lack of

“breathability” can cause the inside of the garment to become wet,

accelerating heat loss due to the increased heat conductivity of wet

materials. (Appx779-780.)

     In 2008, Columbia invented a new approach. Columbia used two

layers: a layer of heat reflective foil glued to a layer of breathable, base

material. Pieces of the heat reflective foil were arranged in an array on



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the base material, leaving portions of the base material uncovered.

(Appx779-781.) This way, the foil would reflect heat to keep the wearer

warm while the exposed sections of base material would ensure

breathability, keeping the inside of the garment dry. While Columbia’s

engineering team had developed the material that could achieve these

characteristics, Columbia still had to develop appealing designs that

could be applied to such a heat reflective material—a particular and

peculiar article of manufacture.

II.   The Field of Art and Asserted Design Patent

      Columbia tasked its Design Director, Zach Snyder, to create

appealing designs that could be applied to heat reflective materials.

      Mr. Snyder considered many factors in the process of inventing

designs for this unique application, including aesthetically pleasing

arrays of metallic foil to be affixed to the base material. (Appx781.) As

he testified at trial, designing with heat reflective materials is different

from designing with conventional fabrics.                For example, with

conventional fabrics, designs can be implemented with ink, which has

well-understood properties and is readily available in many different

colors.   (Appx782.)      When designing for a two-layer heat reflective



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material, however, the design is implemented through shapes of foil

glued onto the base material. The combination of, and contrast between,

the shapes and colors of the reflective top layer and the solid base

material underneath creates the ornamental design seen by ordinary

observers. (Appx780-781.) The foil is inherently shiny, which caused

Mr. Snyder “to think a little differently about how that will interact with

the material below it.” (Appx782.)

     While working on potential designs, Mr. Snyder considered the

inherent properties of the composite materials (base substrate, metallic

foil, and glue), and the manufacturing process by which the new material

would be assembled. (Appx783-784.) He was also concerned about how

the design, implemented with metallic foil, would be viewed by

consumers. Mr. Snyder explained “people are not used to shiny metallics

on their clothes … so I was trying to consider how … you work with that

in something that would be very unexpected for the people wearing it.”

(Appx784-785.)

     Mr. Snyder not only sought to create a design that would look

appealing on a variety of different garments: for example, a “ski jacket,”

a “coat that you wear in the city,” “gloves,” and “socks,” but he also



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wanted a design that would be appropriate for men, women, and children.

Mr. Snyder was “very cognizant of this idea that it needs to appeal to …

a wide audience.” (Appx785.)

     He also considered the goal of creating a “connection” in the mind

of the user between “the thing that you’re designing” and “what you’re

designing for.” (Appx778.) For example, Mr. Snyder wanted to convey

intuitively to the purchaser of a garment that this unique, heat reflective

material on the inside of the garment would make the user warmer.

When working with ink, conveying the concept of “heat” is relatively

straightforward; a designer can use the color red, which is often

associated with heat. But Mr. Snyder was attempting to convey the

concept of heat on a heat reflective material, which has only a shiny layer

of foil adhered onto a bottom layer—a difficult design problem.

(Appx783.)

     For inspiration, Mr. Snyder drew upon his experience growing up

in Arizona in inventing his designs:

        [O]ne of the things that happens on a hot summer day
        is, in the distance, you can see heat ripples, right?
        Like so this mirage of—of distortion that comes from
        the heat rising off the ground. And I thought that
        could be … a great reference point for this idea of
        communicating heat.


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        And one of the things that I liked about the heat
        ripples is both that it—it was a naturally occurring
        heat reference. And I also liked that it was something
        that could translate into a simple shape, which for me
        fit that idea of being very universal.

(Appx786.)

     With this vision in mind, Mr. Snyder invented the following design

for a heat reflective material, showing the contrast between the top

reflective layer (white) and the solid base material (black):




(Appx4 (original, undistorted drawings are at Appx1704-1706).) On April

3, 2012, the Patent Office issued the D’093 patent for this inventive

design for a “heat reflective material.” (Id.)

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     The D’093 patent is not directed to just any material, but rather is

specifically directed to a particular ornamental design for a particular

article of manufacture. It is entitled “Heat Reflective Material” and

claims “[t]he ornamental design of a heat reflective material, as shown

and described.”   (Id.)   It includes Figure 1, shown above, which is

described as “an elevational view of a heat reflective material.” (Appx5.)

Figures 2 and 3 reinforce that the design is for a heat reflective material

implemented through two composite layers. For example, Figure 2 shows

the three-dimensional nature of the heat reflective material, with the top

(white) layer cut out in the ornamental shape glued onto the solid (black)

bottom layer:




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(Appx5, Appx1704.)

     Figures 4-10 show various “perspective view[s] of the heat reflective

material as used” in different garments, including hats, socks, and

gloves. For example, Figures 7 and 8 below show the patented design for

a heat reflective material being used in socks and gloves:




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(Appx4-7, Appx1704-1706.)

III. Seirus’s Infringement

     In 2012, snow sports accessory manufacturer Seirus set out to copy

Columbia’s Omni-Heat® heat reflective material technology by obtaining

samples from Columbia’s Chinese and Korean manufacturers in violation

of their contractual commitments to Columbia. (Appx132-157.) For its

competing product, Seirus started with the following:




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(Appx1436.)

     Seirus then decided to add its brand name. Seirus’s CEO, Mike

Carey, explained that there was only one purpose for adding Seirus’s

brand name; it was “to make sure everybody knew that it was our brand


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that was associated with this product.”     (Appx1098-1099; Appx1528-

1529, Appx1671-1672.)




(Appx1435.)   Where Columbia marketed its products using its heat

reflective material under the mark Omni-Heat®, Seirus adopted the

name HeatWaveTM.


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(Appx887-888; Appx1293.)

     Like the D’093 Patent, Seirus’s HeatWaveTM heat reflective

material is made by gluing a top layer of foil onto a solid base material.

(Appx973.) As seen below, the Seirus design is virtually identical to

Columbia’s D’093 patented design, including the identical frequency and

amplitude of the claimed D’093 design:




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              Columbia’s patented design        Seirus’s design

     (Appx1616.)


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     Indeed, and as shown in the demonstrative below, Figure 2 from

Columbia’s D’093 Patent fits seamlessly into Seirus’s fabric design.




(Appx1617.)    While the Seirus HeatWave™ heat reflective material

includes the Seirus trademark “SEIRUS” in a stylized font, the addition

of its trademark does not change the fact that the Seirus heat reflective

material uses the claimed design from Columbia’s D’093 design patent.

     Like the examples in the D’093 Patent, Seirus uses its HeatWave™

heat reflective material on the inside of its gloves, socks, and hats.



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(Appx1338.) Thus, not only did Seirus take Columbia’s idea for a heat

reflective material, but it also took the ornamental design of the D’093

patent for its own use.

IV.   Because of Seirus’s Infringement, Columbia has Never
      Used the D’093 Patented Design

      In addition to the patented D’093 design, Mr. Snyder also invented

several other designs for heat reflective materials. Columbia initially

launched its Omni-Heat® Reflective product line with a pixilated design

rather than the D’093 patented design. (Appx127.)



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     Years after the initial launch, Columbia prepared to launch an

additional set of products using a heat reflective material within its

Omni-Heat® Reflective product line.        It considered using the D’093

patented design for this subsequent launch but by then Seirus was

already using it.     Concerned about potential consumer confusion,

Columbia opted for a different design. (Appx127-129, Appx12.) Thus,

Columbia has never sold a product embodying its D’093 patented design.

V.   The Lawsuit and its Procedural History

     A.    District Court Proceedings

     Columbia filed this action in January 2015 in the District of Oregon,

accusing Seirus’s HeatWave™ line of products of infringing the D’093

patent and two utility patents.1

     In March 2016, Seirus stipulated to judgment of no invalidity as to

the D’093 patent. (Appx104-105.)

     Columbia thereafter asked the Court to construe the D’093 Patent

and moved for summary judgment of infringement. Seirus responded by

arguing that its design did not infringe because Seirus’s HeatWave™

heat reflective material had its source-identifying brand name on it. As


1 The two utility patents are not at issue in this appeal.




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part of its non-infringement argument, Seirus also introduced a number

of alleged prior art references that Seirus argued were so visually close

that they required a finding of non-infringement. However, none of those

prior art references disclosed a heat reflective material, which is the

article of manufacture identified in the D’093 patent’s claim.

     In August 2016, the district court issued an order addressing the

scope of the D’093 Patent and ruling in favor of Columbia on its summary

judgment motion of infringement. Columbia Sportswear North Am., Inc.

v. Seirus Innovative Accessories, Inc., 202 F. Supp. 3d 1186 (D. Or. 2016)

(Appx106-122.) Concerning the scope of the claim, the district court held

that “Columbia’s D’093 patent protects the ‘ornamental design of a heat

reflective material, as shown and described’ in the claim.” (Appx119.)

Regarding infringement, the district court relied on L.A. Gear for the rule

that an infringer cannot “avoid[] infringement by labelling” a product

with a source identifier and thus ruled that Seirus’s brand name on the

heat reflective material did not avoid infringement. (Appx115, Appx121

(citing L.A. Gear, 988 F.2d at 1126).)

     The district court also held that, because the patent was limited to

“heat reflective material,” much of the alleged prior art was from



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“products far afield” and thus “not relevant to a comparison between

Columbia’s and Seirus’s designs for heat reflective material.” (Appx119-

120.)     The district court held that “[t]he only prior art that even

approaches relevance to Columbia’s design patent” was a pair of patents

issued to Blauer concerning “breathable shell[s] for outerwear.” But the

district court further held that, even considering Blauer’s design, “the

contrasting waves of Seirus’s design are still substantially closer to the

contrasting wave design disclosed in the D’093 patent than either

Seirus’s or Columbia’s design is to” Blauer’s design.            (Appx120-121.)

Thus, the district court found that Seirus infringed. (Appx122.)

        That left only the question of damages for a jury trial, which was

held in September 2017.         The jury awarded Columbia Seirus’s total

profits from its sales of the infringing HeatWave™ products. (Appx158-

159.)

        B.    The Prior Appeal

        Seirus appealed both the summary judgment decision and the

damages award. A panel of this Court reversed, criticizing the district

court’s decision to exclude the added Seirus brand name from the

infringement analysis. Columbia Sportswear North Am. Inc. v. Seirus



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Innovative   Accessories,     Inc.,   942   F.3d       1119   (Fed.    Cir.   2019)

(“Columbia I”).   While Columbia maintained that the district court

followed the holding in L.A. Gear, a panel of this Court disagreed, stating:

        In that case, the parties did not dispute that the
        patented and accused designs were substantially
        similar. L.A. Gear, 988 F.2d at 1125. In fact, “copying
        [was] admitted.” Id. In evaluating infringement
        there, we explained that design infringement is not
        avoided “by labelling.” Id. at 1126. A would-be
        infringer should not escape liability for design patent
        infringement if a design is copied but labeled with its
        name. But L.A. Gear does not prohibit the fact finder
        from considering an ornamental logo, its placement,
        and its appearance as one among other potential
        differences between a patented design and an accused
        one.

Id., 942 F.3d at 1131 (emphasis in original).

     This Court also held that the district court improperly resolved fact

issues in the infringement analysis, including the visual similarity of the

patented design, the accused design, and the alleged prior art “Blauer”

reference. Id.

     Although Seirus challenged a number of the district court’s factual

determinations in its appeal, Seirus did not challenge the district court’s

legal conclusion that the scope of the D’093 Patent is limited to a “heat

reflective material” (see Appx119), nor did this Court find any error in



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that determination.       Similarly, Seirus did not challenge the district

court’s conclusion that most of the asserted comparison prior art was “not

relevant” to an infringement analysis.        (Appx120.)     Thus, when the

mandate issued, those determinations (e.g. the scope of the D’093 patent

and the exclusion of irrelevant “prior art”) became the law of the case,

subject to the mandate rule. See Engel Indus. v. Lockformer Co., 166 F.3d

1379, 1382-83 (Fed. Cir. 1999). This Court remanded the case to district

court for a second trial limited to the issue of infringement.

     C.    The Reexamination

     While the case was pending on appeal, Seirus filed a petition for ex

parte reexamination of the D’093 Patent. Seirus asserted a number of

the same alleged prior art references that it had submitted for

consideration in opposition to Columbia’s motion for non-infringement,

in addition to more than 10 other references. These references included

“Blauer,” a purported prior art reference at issue here. (Appx481-484.)

     The Examiner initially considered Blauer; however, he dropped his

reliance on Blauer after Columbia explained that Blauer lacked the

contrasting colors required by the D’093 patent. (Appx586, Appx593-596,

Appx602-610.) Ultimately, the Patent Office granted a reexamination



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certificate confirming patentability of the D’093 Patent claim.

(Appx1443.)

     D.    Proceedings on Remand

     On remand, two key issues permeated pretrial briefing: (i) the

relevant scope of the admissible “comparison prior art” to the

infringement analysis; and (ii) the role that actual or likely consumer

confusion should play in any design patent infringement analysis,

particularly given Seirus’s addition of its brand name on the HeatWave™

heat reflective material. Those issues are addressed in turn below.

           1.    Seirus’s alleged “comparison prior art.”

     Seirus disclosed that it intended to rely on alleged prior art patents

that the district court had already ruled were “not relevant” because they

were “far afield” from “heat reflective materials.” (Appx119-120.) Three

of those patents are pertinent to this appeal.

     U.S. Patent No. 1,515,792 (“Respess”) is a utility patent from 1913

disclosing a complex machine for making fabric used “in making a rubber

tire”—i.e. the interior structure of early radial tires. (Appx1467-1468,

1:25-28.) Seirus relies on Figure 5, below:




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(Id.)    Respess neither discloses nor teaches anything about “heat

reflective materials.” Indeed, the district court had previously ruled that

Respess “is not relevant to a comparison between Columbia’s and Seirus’s

designs for heat reflective material” (Appx120), a finding that was not

challenged on appeal.

        U.S. Patent No. 2,539,690 (“Boorn”) is a utility patent from 1947

that discloses a method of inlaying plastic threads into plastic sheets. In

Figure 6, below, “a plastic sheet 26 is shown as provided with the inlaid

wavy stripes 27.” (Appx1464-1465, 3:26-28.) It is formed by pressing the

threads into the plastic sheets using rollers until they are flush, as shown

in Figure 5.




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(Appx1464.) Like Respess, Boorn neither discloses nor teaches anything

about “heat reflective materials.” Also like Respess, the district court

previously ruled that Boorn “is not relevant to a comparison between

Columbia’s and Seirus’s designs for heat reflective material.” (Appx120.)

That finding was not challenged on appeal.

     U.S. Patent 5,626,949 to Blauer is a patent relating to waterproof

shells—i.e., rain jackets. (Appx1457-1461.) Like Boorn and Respess,

Blauer discloses nothing about “heat reflective materials,” let alone a

design for any. Instead, Blauer discloses a “printed stratum” of acrylic

urethane—a clear elastomer coating that “maintain[s] shell fabric

appearance” while providing “dimensional stability.”          (Id. 3:56-59.)

Consistent with the specification, Blauer’s figure 5 shows his idea as

white-on-white, representing a clear layer of urethane spread onto fabric.



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(Appx1459.) The district court had previously held that Blauer was “[t]he

only prior art that even approaches relevance to Columbia’s design

patent.” But the district court noted that, unlike the D’093 Patent, “[t]he

waves in [Blauer] are not contrasting colors” and the wavelength and

amplitude of the waves was very different from the Columbia design,

which was the same as Seirus’s. (Appx121.)

           2.    Arguments to the district court regarding alleged
                 “prior art”

     Through pretrial briefing, Seirus indicated its intent to argue that

Respess, Boorn, and Blauer were relevant as comparison prior art for

infringement, even though none disclosed heat reflective material.

Specifically, Seirus intended to argue an abstruse point from theoretical

physics that everything in the universe reflects at least some

infinitesimal amount of heat and, therefore, all materials in the universe



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are “heat reflective materials” within the meaning of the D’093 patent

claim.

      Columbia moved in limine to preclude this argument, noting that it

had      “already   [been]   rejected   by    the   Court    in    its   summary

judgment/Markman ruling,” which was not challenged on appeal, and

therefore was “now law of the case.” (Appx280-281.) Columbia also

objected to the admissibility of all three prior art references because

Seirus could not establish that they were related to the claimed “heat

reflective material.” (Appx323-327.).

      At the same time, Seirus moved in limine to preclude Columbia

from distinguishing any prior art based on whether it was a “heat

reflective material” because, it argued, doing so allegedly would import a

“functional” element into the patent claim. (Appx237-238.) Columbia

opposed the motion on numerous grounds, including that it conflicted

with the district court’s prior rulings—unchallenged and undisturbed on

appeal—concerning the scope of the D’093 Patent and the corresponding

scope of relevant “comparison prior art.” (Appx403-405.)

      At the pretrial conference, the district court determined the

references and arguments that would be allowed at trial. First, the



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district court ruled that Seirus would be permitted to introduce any

comparison prior art so long as it was directed at a “wave pattern[] on

fabric”—i.e., regardless of whether the pattern applied to “heat reflective

material.” (Appx421-430.)

     Second, and contrary to its prior ruling, the district court precluded

Columbia from making any arguments distinguishing prior art on the

grounds that it was not a “heat reflectiv[e] material,” apparently

accepting Seirus’s flawed argument that doing so would allow

“infringement [to] turn[] on a functional aspect of [the] claim.” (Appx238,

Appx421.)

            3.   Seirus’s reliance on the alleged “prior art” at
                 trial

     During trial, Seirus relied heavily on Respess, Boorn, and Blauer to

argue that the accused HeatWave™ heat reflective material did not

infringe the asserted claim of the D’093 patent. Seirus argued that this

alleged comparison prior art was so visually similar to the D’093 patent

that the scope of the D’093 did not encompass the design of the accused

HeatWave™ heat reflective material. A significant part of the testimony

of Seirus CEO Mike Carey concerned this art.                (Appx1036-1042,

Appx1139-1142.)     On cross, Mr. Carey testified that he did not


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understand these prior patents because they were “old,” “difficult to

understand,” and for products that are “not an area that we make product

for.” (Appx1064, Appx1072.)

     To establish that Blauer was not proper comparison prior art,

Columbia asked Mr. Carey about the purpose of its printed stratum (i.e.,

to improve “dimensional stability”). Seirus objected. The district court

sustained Seirus’s objection holding that Columbia’s question concerned

the “function” of the invention disclosed in Blauer, and thus was counter

to the district court’s in limine order. (Appx1064-1065.)

           4.    The district court’s jury instructions concerning
                 the relevant comparison prior art

     During pretrial proceedings, Columbia sought two jury instructions

concerning the relevance of alleged “prior art.” Columbia’s proposed

instruction 9E read in relevant part as follows:

        The Design Patent is limited to the design of Heat
        Reflective Materials, as shown and described in the
        patent. The term “Heat Reflective Materials” has its
        plain and ordinary meaning. The ordinary meaning
        of a claim term is not the meaning of the term in the
        abstract. Instead, the “ordinary meaning” of a claim
        term is its meaning to the ordinary artisan after
        reading the entire patent. In other words, the term
        takes its meaning from the context in which it is used
        in the patent.



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        The plain and ordinary meaning of “Heat Reflective
        materials” in the context of the Design Patent does
        not include all materials.

(Appx360.) In support, Columbia cited the language of the patent and

case law concerning claim construction, including Eon Corp. IP Holdings

v. Silver Spring Networks, 815 F.3d 1314, 1320 (Fed. Cir. 2016).

Columbia also argued that the district court had already found that the

D’093 Patent was limited to heat reflective materials, and that “[t]he

Court’s holdings about the scope of the claim was a determination of law,

which was not challenged on appeal by Seirus, and is therefore law of the

case.” (Appx361-363.)

     Columbia also requested instruction 9F as follows:

        In design patent law, the term “prior art” refers to
        prior designs that address the same subject matter or
        field of endeavor as the patented design or that
        address a field of endeavor so similar that a designer
        having ordinary skill would look to articles in that
        field for their designs. The subject matter and field
        of endeavor of the D’093 patent is ornamental designs
        for Heat Reflective Materials.

(Appx369.) This instruction relied on this Court’s ruling in Hupp, 122

F.3d at 1462, that “[t]he scope of prior art” to a design patent “is not the

universe of abstract design … [but is limited to] designs of the same

article of manufacture or of articles sufficiently similar that a person of


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ordinary skill would look to such articles for their designs.” (Appx369-

371.)

        During the trial, the district court provided the parties with a draft

of its proposed jury instructions.         The court declined to include any

instruction on the scope of the patent or relevant comparison prior art.

Instead, the court’s instruction stated simply: “Prior art includes things

that were publicly known, or used in a publicly accessible way in this

country, or that were patented or described in a publication in any

country before the creation of the claimed design.”

        Columbia objected to this instruction because it erroneously

instructed the jury that for determining design patent infringement all

prior patents, regardless of article of manufacture, were admissible

comparison prior art, so long as they pre-dated the D’093 priority date.

Columbia asserted that the question whether a prior reference is relevant

“prior art” for purposes of design patent infringement is a question for

the jury.     (Appx1172-1173.)     Columbia explained that, even though

Respess, for example, ostensibly concerned a type of “fabric,” the jury

should be allowed to decide whether fabric for “radial tires would be

considered prior art” to the D’093 Patent, which regards a heat reflective



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material used in clothing. Columbia further asserted that the jury may

well “draw the conclusion … that it would … not be the type of patent

that would be looked at by an ordinary designer” in Mr. Snyder’s field.

(Appx1172.) As to the other two patents at issue, Columbia similarly

argued:

          [t]he same, frankly, with Blauer and with Boorn …
          We just don’t think [a] … graphic designer would
          actually look to those in the first place, and we would
          like the jury to have the opportunity to draw that
          conclusion for themselves, rather than be dictated
          what is prior art and what is not.

(Appx1173.)

     At this juncture, the district court expressed concern that it may

have made a mistake in its conclusions regarding “prior art,” and that its

proposed instruction may improperly usurp the role of the jury in

deciding what is relevant comparison prior art for purposes of the design

patent infringement test. (Appx1174-1175.)            Specifically, the district

court said as follows:

          Well, if I’m wrong on the law regarding whether or
          not it’s a question of fact or question of law, then I
          need to be right on the law to the extent that I can be.

                                *    *     *




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        I don’t know what the answer is. I was operating
        under the assumption it was a question of law for the
        Court.

(Id.) That night, Columbia presented a proposed revision to the court’s

instruction on prior art, quoting directly from Hupp and asking the Court

to include the following in its instruction:

        The term ‘prior art’ refers to prior designs of the same
        article of manufacture or of articles so similar that a
        person of ordinary skill would look to such articles for
        their designs.

(Appx1481.)     Columbia also reminded the Court that “whether a

reference is analogous art is a question of fact.” (Id.)

     The court rejected this request, instead adding a single sentence to

its instruction. The instruction, as given, reads:

        You must decide what is prior art. Prior art includes
        things that were publicly known, or used in a publicly
        accessible way in this country, or that were patented
        or described in a publication in any country before the
        creation of the claimed design.

(Appx1521.)

     Pursuant to this instruction, the jury’s role was limited to

determining whether the art was known, used, patented or published

prior to the invention date of Columbia’s patent. As a practical matter,

that left nothing for the jury to decide given that the dates of the three


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references were not in dispute. The court then instructed that the jury

“must” familiarize itself with this art “in determining whether there has

been infringement.” (Appx1521.) Despite Columbia’s objections, the

district court declined to instruct the jury on the scope of relevant

comparison prior art for the infringement analysis. The door thus was

wide open to admit any “fabric” as comparison prior art, regardless its

use, or whether it concerned or disclosed a heat reflective material. The

judge decided whether something was “fabric,” and concluded that

Respess, Boorn, and Blauer qualified.

     In its closing argument, Seirus leveraged the judge’s overly

permissive jury instruction on the scope of comparison prior art, and

argued extensively about all three references. Seirus invited the jury to

find non-infringement arguing that the scope of Columbia’s patented

D’093 design was narrowed in view of the wave patterns disclosed in the

asserted prior art.       (Appx1224, Appx1231-1232, Appx1236-1242,

Appx1624, Appx1634, Appx1644-1650, Appx1663.)                Seirus did not

mention, nor did the judge permit Columbia to point out, the fact that the

asserted prior art failed to disclose any heat reflective materials.




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           5.    Jury instructions concerning use of Seirus’s logo
                 and “likelihood of confusion”

      In addition to the dispute over the scope of the comparison prior art,

it became clear in the run-up to trial that Seirus intended to litigate the

case based on principles of trademark law rather than those applicable

to design patents. For example, Seirus would argue that the presence of

its brand name defeats Columbia’s patent infringement claim by avoiding

a likelihood of consumer confusion as to the source of Seirus’s product.

      The problem with this approach, of course, is that a “likelihood of

confusion” as to source is irrelevant to the question of design patent

infringement. As this Court has noted, “when there is a source-indicating

label, the label” may “make consumer confusion unlikely” enough to avoid

trade dress infringement. L.A. Gear, 988 F.2d 1117. However, confusion

as to source has no relevance to a claim of design patent infringement.

Id. at 1126. That is because “[d]esign patent infringement relates solely

to the patented design, and does not require proof of unfair competition

in the marketplace … or allow of avoidance of infringement by labelling.”

Id.

      Thus, a central issue with respect to the jury instructions was the

role of Seirus’s name on its products and the extent to which actual or


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likely confusion as to source was a relevant consideration for the jury in

a design patent case.

     Columbia proposed two separate jury instructions to address these

issues. First, in Requested Jury Instruction 9B, Columbia asked the

court to include the following:

        Confusion as to the source or provider of the goods
        accused of infringing is irrelevant to determining
        whether a patent is infringed.

     Thus, consistent with L.A. Gear, the fact that Seirus included its

brand name on its products as a source identifier could not avoid

infringement. Columbia relied on Braun and Unette for this principle.

Columbia also explained that this instruction would help “prevent jury

confusion concerning what is meant by [use of the term] ‘deceive’” in the

standard articulated in Gorham Co. v. White, 81 U.S. 511, 528, 20 L. Ed.

731 (1871). (Appx349.)

     Columbia also sought Requested Jury Instruction 9D, titled

“Logo/Confusion”:

        Labelling a product with source identification or
        branding does not avoid infringement. Consumer
        confusion as to the source or provider of the products
        is not a consideration in an infringement analysis.
        [B]ut you may consider an ornamental logo, its
        placement, and its appearance as one among other


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        potential differences between a patented design and
        an accused one in deciding whether the overall
        appearance of the patented and accused design are
        substantially similar.

(Appx356.) Columbia argued that this instruction properly synthesized

the holding in L.A. Gear with the holding in Columbia I. Columbia

argued that the jury

        must be instructed as to the law as elucidated in both
        L.A. Gear and Columbia Sportswear.            This is
        particularly critical given the factual dispute about
        whether Seirus’s logo would be perceived by the
        ordinary observer as a design element or is merely a
        means of identifying Seirus as the source, as shown
        in its advertising materials.

(Appx357 (emphasis added).)

     Seirus, too, sought a jury instruction concerning the impact of its

logo on the infringement analysis, quoting solely from Columbia I, and

ignoring this Court’s instructive holding in L.A. Gear.           (Appx377.)

Columbia opposed Seirus’s proposed instruction, arguing that it was

“incomplete” and that the Court should instruct the jury pursuant to its

Requested Instruction 9D instead. (Appx380.)

     As noted above, after the close of evidence, the district court

provided the parties with its draft jury instructions. The court resolved

the disputes above by deciding to give neither of the parties’ proposed


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instructions on these issues.    The Court in fact decided to give no

instruction on these issues at all. Instead, in its Instruction No. 10, the

district court proposed to instruct the jury pursuant to the basic Gorham

standard as follows:

        Two designs are substantially the same if, in the eye
        of an ordinary observer, giving such attention as a
        purchaser usually gives, the resemblance between
        the two designs is such as to deceive an ordinary
        observer, inducing him to purchase one supposing it
        to be the other.

     While it rejected Columbia’s proposed jury instruction regarding

the irrelevance of “confusion” and “logos” to the design patent

infringement test, the district court added the following instruction:

        You do not need, however, to find that any purchasers
        were actually deceived or confused by the appearance
        of the accused products.

And though the instruction correctly notes that actual confusion is not

the test for design patent infringement, the instruction incorrectly

implied that a “likelihood of confusion”—the classic test for trademark

infringement—may be relevant to a determination of design patent

infringement.

     To remedy this defect, Columbia asked the Court for a modification

to its instruction concerning “confusion,” explaining:


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        The Court’s current instruction [addresses the issue
        of actual confusion], but we think it could go a little
        further in view of the case law. And, in particular,
        the Federal Circuit has been clear that even a
        likelihood of confusion is not a necessary or even
        appropriate factor in a design infringement case.

(Appx1159 (emphasis added).) Columbia quoted passages from Unette

for the proposition that “likelihood of confusion” is a trademark law

concept relating to source confusion and is not an appropriate

consideration in determining design patent infringement. (Appx1168-

1169; see also Unette, 786 F.2d at 1029.)

     The Court invited the parties to file draft revisions to the Court’s

instructions.   (Appx1185.)    That night, Columbia filed a proposed

modification to the Court’s Instruction No. 10:

        Amend the second sentence of the third paragraph to
        read as follows: “You do not need, however, to find
        that any purchasers were actually deceived, nor do
        you need to find any actual confusion or likelihood
        of confusion amongst consumers in the
        marketplace.”

(Appx1481 (emphasis added).)

     Columbia cited as support:

        “Likelihood of confusion is not a necessary or
        appropriate factor for determining infringement of a
        design patent.” Unette Corp. v. Unit Pack Co., 785
        F.2d 1026, 1029 (Fed. Cir. 1986). “Concluding that a


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          purchaser is unlikely to be confused by any similarity
          in a competitor’s product only serves to blur the
          otherwise clear line that exists between the test of
          infringement of a design patent and the ‘likelihood of
          confusion test’ for infringement of a trademark.” Id.

(Id.)    The following morning, the district court circulated its final

instructions.     It declined to modify its instruction, or to include any

instruction on the irrelevance of likelihood of confusion and logos to the

design patent infringement test.

             6.    Seirus’s closing argument seized on the district
                   court’s flawed instruction

        Shortly after the district court confirmed that it would not

incorporate a “likelihood of confusion” or “logos” instruction, Seirus

exploited that gap in its closing argument. Specifically, Seirus put a slide

on the screen that cited the basic Gorham standard:

          Two designs are substantially the same if, in the
          eye of an ordinary observer, giving such attention
          as a purchaser usually gives, the resemblance
          between the two designs is such as to deceive an
          ordinary observer, inducing him to purchase
          one supposing it to be the other.

(Appx1625 (emphasis in original).)

        Seirus then argued to the jury as follows:

          Remember when I showed you this instruction? Hard
          to imagine with all those logos that an ordinary
          observer, the consumer, would be deceived into

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          thinking that’s Columbia’s patent. I don’t see it. I
          don’t see how that’s possible because Seirus is
          telling the world this is ours. This is ours.

(Appx1225-1226 (emphases added).)

     Thus, while Seirus’s counsel mimicked the language of Gorham, the

thrust of the argument unambiguously went to the type of consumer

confusion relevant only in a trademark or trade dress case—confusion as

to source—rather than the design comparison necessary to determining

infringement of a design patent.

     E.      The Jury Verdict

     The jury thereafter returned a verdict that Seirus was not liable for

infringement. Columbia timely appealed.

                        SUMMARY OF ARGUMENT

     The district court’s errors concern two primary issues. The first

issue concerns the district court’s jury instruction that all prior patents

“must” be considered in a design patent infringement analysis regardless

whether they concern the particular article of manufacture identified in

the asserted claim of the D’093 patent, namely, a heat reflective material.

The second issue concerns the lack of a jury instruction concerning

confusion as to source, particularly given Seirus’s brand name on its

products.

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     A.    Errors Concerning Alleged Comparison Prior Art

     First, the district court erred by failing to instruct the jury that the

scope of the D’093 Patent was limited to heat reflective materials. In

Surgisil, this Court recently confirmed that design patent claim scope is

“limited to the particular article of manufacture identified in the claim.”

14 F.4th at 1382; see also Curver Luxembourg, SARL v. Home

Expressions Inc., 938 F.3d 1334, 1336 (Fed. Cir. 2019) (holding that

where the article of manufacture identified in the design patent was a

chair, the scope of the design patent does not include the design as

applied to baskets). Here, the patent claims an ornamental design for a

“heat reflective material.” Moreover, that limited scope of the D’093

Patent was established as a matter of law in the original proceedings,

and it became law of the case when Seirus failed to challenge it during

the prior appeal. The jury should have been instructed that the scope of

the D’093 Patent was limited to heat reflective materials, which would

have been determinative as to the scope of any comparison prior art.

     Second, the district court erred in its jury instructions concerning

the scope of the comparison prior art for purposes of conducting the

design patent infringement test. The district court instructed the jury



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that all prior patents are prior art without any instruction to limit the

comparison prior art for the infringement analysis to like-kind articles

of manufacture, namely, heat reflective materials.

        However, “[t]he scope of prior art is not the universe of abstract

design.” Hupp, 122 F.3d at 1462. Notably, this Court recently clarified

that:

             A design claim is limited to the article of
             manufacture identified in the claim; it does not
             broadly cover a design in the abstract. The Patent
             Act permits the grant of a design patent only to
             “[w]hoever invents any new, original and
             ornamental design for an article of manufacture.”

Surgisil, 14 F.4th at 1382 (emphasis in original.)

        Surgisil makes clear that, inasmuch as a design patent’s scope is

limited “to the particular article of manufacture identified in the claim,”

the relevant prior art for anticipation must be limited to like-kind articles

of manufacture. Id. Importantly, this Court has long-held that, for

design patents, anticipation and infringement are opposite sides of the

same coin and that the standards for judging each are identical. Int’l

Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1239 (Fed. Cir.

2009). Inasmuch as the scope of a design patent and its relevant art for

anticipation purposes is limited to like-kind articles of manufacture, so


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must be the scope of a design patent and its relevant prior art for

infringement purposes.

     Here, none of the alleged comparison prior art asserted by Seirus

involved “heat reflective materials.”      The district court’s failure to

instruct the jury on the scope of the relevant comparison prior art was

prejudicial error.

     Third, even assuming the broader scope of art relevant to an

obviousness analysis should apply to an infringement analysis, this

Court’s jury instructions were still erroneous. The district court declined

to apprise the jury that the scope of prior art is limited to the scope

articulated in Hupp. Instead, the district court erroneously directed the

jury to consider all prior patents, even from non-analogous arts.

     Fourth, the district court erred in ordering that Columbia’s counsel

could not present evidence or argue that the asserted comparison prior

art failed to disclose heat reflective materials, the particular article of

manufacture identified in the claim of the D’093 patent.

     B.    Errors Concerning Relevance of Source Confusion

     The district court also erred in failing to instruct the jury,

consistent with Unette, Braun, and L.A. Gear, that “likelihood of



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confusion” as to source is not relevant in determining infringement in a

design patent case.

     The district court instructed the jury based on the standard set by

the Supreme Court in Gorham, which instructs the jury to find

infringement if “the resemblance is such as to deceive such an observer,

inducing him to purchase one supposing it to be the other …”

     But, as explained by this Court in subsequent decisions, the district

court must clarify the meaning of this language where either (1) the

patent owner does not make a patented product available for “purchase,”

or (2) like Seirus, the infringer argues that labelling the product with its

name avoids “deception.”     Specifically, the “deception” referenced in

Gorham relates solely to the similarity of two designs in the marketplace,

and not to consumer confusion as to source. Unette, 785 F.2d at 1029.

     This Court has repeatedly emphasized that while confusion as to

source may be a lynchpin in a trade dress case, such “likelihood of

confusion” has no relevance to a determination of design patent

infringement. Id. In the leading Unette/Braun/L.A. Gear trilogy of cases,

this Court reinforced this key point, further holding that “[d]esign patent

infringement … does not … allow of avoidance of infringement by



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labelling.” L.A. Gear, 988 F.2d at 1126.

     In this case, where the logo issue was front and center, it was

particularly critical for the district court to instruct the jury on issues

relating to likelihood of confusion.     Seirus exploited the absence of

instructions about source confusion in its closing argument by openly

inviting the jury to find no infringement because the “Seirus” brand name

on its products made clear that Seirus, and not Columbia, was the source

of its infringing products.    The district court’s failure to give the

requested clarifying instruction allowed the jury to wrongly dispose of

the case based on principles of trademark law rather than the design

patent principles actually laid out in Gorham.

                              ARGUMENT

I.   Standards of Review

     “This court reviews challenges to jury instructions under the law of

the regional circuit where the district court sits.” Voda v. Cordis Corp.,

536 F.3d 1311, 1328 (Fed. Cir. 2008).

     The Ninth Circuit “review[s] a district court’s formulation of civil

jury instructions for an abuse of discretion, but [] consider[s] de novo

whether the challenged instruction correctly states the law.” Wilkerson



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v. Wheeler, 772 F.3d 834, 838 (9th Cir. 2014) (internal citation omitted).

     “Jury instructions must be formulated so that they fairly and

adequately cover the issues presented, correctly state the law, and are

not misleading.” Gilbrook v. City of Westminster, 177 F.3d 839, 860 (9th

Cir. 1999). Jury instructions are erroneous if they do not adequately

inform the jury of the law. Bateman v. Mnemonics, Inc., 79 F.3d 1532,

1543-44 (11th Cir. 1996). The need for sufficient jury instructions applies

with greater force in the complex field of intellectual-property rights

where “the need for proper guidance is accentuated and heightened … .”

Id. Failure to instruct the jury on an important contested issue mandates

a new trial. Montgomery Ward & Co. v. Duncan, 311 U.S. 243, 251

(1940).

     “In evaluating jury instructions, prejudicial error results when,

looking to the instructions as a whole, the substance of the applicable law

was not fairly and correctly covered. Harmless error review for a civil

jury trial shifts the burden to the defendant to demonstrate that it is

more probable than not that the jury would have reached the same

verdict had it been properly instructed.” Wilkerson, 772 F.3d at 838

(cleaned up, quotes omitted).



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      Similarly, “[t]his court reviews a district court’s decision to exclude

evidence under the law of the regional circuit.” Star Sci., Inc. v. R.J.

Reynolds Tobacco Co., 655 F.3d 1364, 1372 (Fed. Cir. 2011). In the Ninth

Circuit, evidentiary rulings are generally reviewed for an abuse of

discretion. Wagner v. Cnty. of Maricopa, 747 F.3d 1048, 1052 (9th Cir.

2013). The same applies to orders that an attorney may not make certain

arguments to the jury. Id.

II.   The District Court Erred in Its Jury Instructions by
      Failing to Limit the Scope of Comparison Prior Art for the
      Design Patent Infringement Test.

      The district court erred by instructing the jury, in effect, that any

prior patent, regardless of field of endeavor or subject matter, is “prior

art” that should be considered in a design patent infringement analysis.

At minimum, the district court should have instructed the jury,

consistent with Columbia’s proposed jury instruction, that the scope of

comparison prior art—sometimes referred to as the “design corpus,”2—is

limited to “designs of the same article of manufacture or of articles so

similar that a person of ordinary skill would look to such articles for their



2 See, e.g., L’Oréal Société Anonyme v. RN Ventures Ltd., [2018] EWHC

173 (Pat).


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designs.” Hupp, 122 F.3d at 1462. That was the broadest design corpus

applicable to any design patent analysis at the time of trial.

     However, subsequent to the jury trial, this Court issued its decision

in Surgisil, which held that a narrower scope of prior art is relevant to

the question of anticipation—the prior art must be designs of the article

of manufacture recited in the claim. Surgisil, 14 F.4th at 1382. Based

on this Court’s prior holding that “the same test must be used for both

infringement and anticipation,” Int’l Seaway, 589 F.3d at 1239, the scope

of comparison prior art relevant to design patent infringement likewise

should be limited to designs for the particular article of manufacture

recited in the asserted design patent claim—here, “heat reflective

materials.”

     As a matter of first impression, this Court should decide whether

the scope of prior art relevant to a design patent infringement analysis is

limited to the narrow scope applicable to anticipation, or should be

expanded to encompass the broader scope applicable to obviousness

determinations. Either way, the district court erred by suggesting that

all prior patents “must” be considered in an infringement analysis. This

Court should reverse and remand with clear instructions of the scope of



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comparison prior art relevant to a design patent infringement analysis.

None of Seirus’s alleged prior art qualifies.

        A.    The scope of prior art relevant to design patent
              infringement is limited to designs for the particular
              article of manufacture identified in the asserted
              design patent.

        In its en banc decision in Egyptian Goddess, this Court held that an

infringement determination in a design patent case should include

reference to prior art, as “context in which the claimed and accused

designs are compared.” 543 F.3d at 677. The en banc Egyptian Goddess

Court referred to this prior art as “comparison prior art.” Id. at 678.

        However, “[t]he scope of prior art is not the universe of abstract

design.”      Hupp, 122 F.3d at 1462.        This Court has never directly

addressed whether the scope of comparison prior art for determining

patent infringement is limited to prior art relevant to anticipation, or

includes the expanded scope of prior art that may be relevant to

obviousness. However, this Court has held that “the same test must be

used for both infringement and anticipation.” Int’l Seaway, 589 F.3d at

1239.

        Int’l Seaway issued shortly after Egyptian Goddess and considered

whether the standard for finding anticipation of a design patent needed


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to be conformed to the new infringement standard articulated in

Egyptian Goddess.          This Court altered the standard applicable to

anticipation of design patents to “continue our well-established practice

of maintaining identical tests for infringement and anticipation.” Id. at

1240.

        Two recent decisions by this Court have established that: (i)

infringement is limited to designs involving the claimed article of

manufacture (Curver); and (ii) anticipatory prior art is limited to art

involving the same article of manufacture (Surgisil).             Taking these

decisions together with the earlier Int’l Seaway decision leads to the

conclusion that the only comparison prior art relevant to an infringement

analysis is prior art involving the particular article of manufacture

recited in the patent claim.

        In the first of these two recent decisions, this Court held that a

design patent claim’s scope is limited to the article of manufacture

identified in its claims. Curver, 938 F.3d at 1339-42. In addition to

Supreme Court precedent, this Court relied on Patent Office regulations,

including, e.g., MPEP 1502 which defines “the subject matter which is

claimed [a]s the design embodied in or applied to an article of



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manufacture,” and explains that the “[d]esign is inseparable from the

article to which it is applied and cannot exist alone merely as a scheme

of surface ornamentation.” The Curver Court also specifically noted that

the scope of a design patent is directly related to the scope of relevant

prior art: limiting scope to the claimed article of manufacture reduces

the need for prior art searching during examination. Curver, 938 F.3d at

1341, fn. 3. The Curver court thus held that a design patent covering a

“chair” as an article of manufacture could not be infringed by a basket.

Curver, 938 F.3d at 1336-38.

     After the remand trial in this case, this Court reaffirmed and

expanded this principle in Surgisil. Surgisil was an appeal from a Patent

Office decision rejecting a design patent claim for a “lip implant” as

anticipated by an “art tool” that looked like a pencil.




This Court reversed, stating that “[a] design claim is limited to the article

of manufacture identified in the claim. It does not broadly cover a design



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in the abstract.” Id., 14 F.4th at 1382. Thus, the Court confirmed that

the scope of prior art for anticipation purposes is limited to the article of

manufacture identified in the patent’s claim.

     Applying this Court’s rationale in Int’l Seaway to its recent

decisions in Curver and Surgisil, this Court should now confirm that the

scope of prior art relevant to design patent infringement is limited to

designs involving the article of manufacture recited in the patent claim.

Such a holding will preserve the “well-established practice of

maintaining identical tests for infringement and anticipation.”               Int’l

Seaway, 589 F.3d at 1240.

     Notably, in its prior cases applying prior art to an infringement

analysis, this Court has, in practice, always limited “comparison prior

art” to art involving the claimed article of manufacture.                See, e.g.,

Egyptian Goddess, 543 F.3d at 680 (relying on, as prior art, “[t]he two

closest prior art nail buffers”); Arminak & Assocs., Inc. v. Saint-Gobain

Calmar, Inc., 501 F.3d 1314, 1324-25 (Fed. Cir. 2007) (infringement

determined in context of prior “trigger sprayer shrouds’ patented

designs”); Unidynamics Corp. v. Automatic Prods. Int’l, Ltd., 157 F.3d

1311, 1324 (Fed. Cir. 1998) (infringement determined in context of prior



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vending machine designs); Braun, 975 F.2d at 820 (comparison to prior

hand-held electric mixer designs).

     B.     At minimum, the Court should hold the scope of prior
            art is limited to the design corpus relevant to an
            obviousness analysis.

     The design corpus applicable to a design patent obviousness

analysis is broader than the new standard for anticipation prior art

adopted in Surgisil. Specifically, for obviousness purposes, “[t]he scope

of the prior art” is limited to “designs of the same article of manufacture

or of articles sufficiently similar that a person of ordinary skill would look

to such articles for their designs.” Hupp, 122 F.3d at 1462 (emphasis

added).

      Although Seirus argued for a broader scope of “prior art” before the

district court, it has cited no case where a court has considered art for

infringement purposes beyond the scope relevant to invalidity. Nor has

Seirus cited any theory, principle, or policy by which the Court should

expand the scope of comparison prior art for infringement beyond the art

relevant to an obviousness analysis.

      C.    The scope of the D’093 Patent is limited to “heat
            reflective materials”

      As Curver and Surgisil make clear, the scope of the D’093 Patent is


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limited to “heat reflective materials”—a term that was generally known

in the field. (See Appx617-618.) That the D’093 Patent is directed—and

limited—to a design for “heat reflective materials” is taken directly from

the title (“HEAT REFLECTIVE MATERIAL”), the express language of

the single claim (“The ornamental design of a heat reflective

material”), and each of the 10 figure descriptions. (E.g. “FIG. 1 is an

elevational view of a heat reflective material”) (Appx4); see also

Surgisil, 14 F.4th at 1382 (“[a] design claim is limited to the article of

manufacture identified in the claim”).

     Moreover, the fact that the D’093 patent claim is limited to a “heat

reflective material” was already established as law of the case. In its

Markman/summary judgment decision, the district court held that

“Columbia's D’093 patent protects the ‘ornamental design of a heat

reflective material, as shown and described.’” (Appx119.) The district

court further held that “the vast majority of Seirus’s prior art covers

products far afield from Columbia’s ‘heat management materials,’ which

… significantly limits relevance of the prior art in this case.”        (Id.)

Indeed, the district court specifically excluded both Respess and Boorn

and further held that Blauer only “approache[d] relevance.” (Appx120.)



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Thus, in 2016, the district court properly limited the scope of the claim,

and the relevant prior art, to “heat reflective materials,” consistent with

the title, claim, and description of the figures. (Appx4.) Seirus failed to

challenge that holding on appeal, raising it for the first time only in the

remand proceeding.

     Therefore, even in the absence of Surgisil, the proper scope of the

D’093 Patent to “heat reflective materials” was law of the case and not

subject to further review. See, e.g., Engel Indus., 166 F.3d at 1382-83

(“Unless remanded by this court, all issues within the scope of the

appealed judgment are deemed incorporated within the mandate and

thus are precluded from further adjudication.”).

     As further discussed below, the district court’s failure to properly

limit the jury’s consideration of comparison prior art was prejudicial

error.

     D.    The court’s jury instructions misstated the law and
           erroneously instructed the jury that all prior patents
           are prior art that could be considered.

     In pre-trial proceedings, Columbia sought Requested Instruction

9E (Claim Scope), which in relevant part asked the Court to instruct the

jury that the D’093 Patent “is limited to the design of Heat Reflective



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Materials, as shown and described in the patent.”             (Appx360-363.)

Columbia sought the same in its proposed instruction 9F, which asked

the Court to instruct the jury that “[t]he subject matter and field of

endeavor of the D’093 patent is ornamental designs for Heat Reflective

Materials.”    (Appx369-372.)      Seirus objected to these proposed

instructions. (Appx363-368, Appx372-376.) The district court ultimately

declined to give any instruction concerning the scope of the D’093 Patent.

Indeed, the district court went further and instructed Columbia’s counsel

that they were prohibited from raising whether any of the alleged

comparison prior art were “heat reflective materials.” (Appx421.)

     Columbia also asked the district court, twice, to instruct the jury

about the scope of comparison prior art for purposes of the design patent

infringement test. (Appx369, Appx1481.) Rather than instruct the jury

about the scope of the patent claim and the relevant comparison prior

art, the judge effectively instructed the jury that all prior patents,

regardless of article of manufacture, “must” be considered in the design

patent infringement test. (Appx1521.) This was clear error.

     The district court should have instructed the jury that the scope of

the patent is limited to “heat reflective materials.” Since the scope of the



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patent is limited to “heat reflective materials,” as recited in the claim, on

remand, this Court should hold that the scope of prior art relevant to an

infringement analysis is likewise limited to “heat reflective materials.”

As discussed above, such a holding is necessitated by this Court’s

holdings in Surgisil, Curver, Egyptian Goddess and Int’l Seaway.

     The Court should further direct that none of the Respess, Boorn and

Blauer references should be considered as comparison prior art at a

retrial because none involve a “heat reflective material.”

     (1)     Respess regards a complex machine for making fabric used

             “in making a rubber tire”—i.e. the interior structure of early

             radial tires (Appx1467-1475)

     (2)     Boorn regards a method of inlaying plastic threads into

             plastic sheets (Appx1464-1466)

     (3)     Blauer regards a “printed stratum” of acrylic urethane—a

             clear elastomer coating that “maintain[s] [a] shell fabric

             appearance”    to   provide    “dimensional      stability”   to   a

             waterproof shell (Appx1461)

Indeed, the district court already found that Respess and Boorn were

both “far afield” and “not relevant to a comparison between Columbia’s



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and Seirus’s designs for heat reflective material.” (Appx119-120.) The

district court found the same about Blauer, noting that it was “[t]he only

prior art that even approaches relevance.” Id. (emphasis added). Seirus

failed to challenge those findings during the prior appeal.3 Therefore, it

is law of the case that none of Seirus’s prior art is a heat reflective

material, and none of it should be considered in an infringement analysis.

Engel Indus., 166 F.3d at 1382-83.

     E.    The district court’s jury instructions were erroneous
           even adopting the broader design corpus applicable
           to obviousness

     At the very least, the district court should have instructed the jury

that “[t]he term ‘prior art’ refers to prior designs of the same article of

manufacture or of articles so similar that a person of ordinary skill would

look to such articles for their designs,” as Columbia specifically

requested. (Appx1481 (citing Hupp); see also Appx369.)

     The Court’s failure to properly instruct the jury on these critical

issues concerning the scope of the claim and the comparison prior art for



3 Although Seirus challenged the Court’s fact finding regarding Blauer,

its argument on appeal was limited to two sentences concerning the
shape of the wave in Blauer, not whether it discloses a heat reflective
material. See Columbia I, ECF 29, pp. 27-28.


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design patent infringement purposes was harmful error, as discussed

immediately below, and should be reversed.

     F.    The district court’s failure to properly instruct the
           jury about the relevant comparison prior art for the
           design patent infringement test was prejudicial.

     Where the jury instructions fail to fairly and correctly cover the law,

prejudice is presumed. Wilkerson, 772 F.3d at 838. Here, the error was

clearly prejudicial. Seirus’s alleged “prior art” was critical to its non-

infringement case. Seirus argued that the scope of the D’093 patent was

narrowed in view of that art, and thus the D’093 patent could not

encompass the accused Seirus design. Its lead witness testified at length

about its asserted art and Seirus’s counsel discussed this art at length

during their closing argument, replete with numerous slides depicting it.

(Appx1634, Appx1644-1650, Appx1663.)         One of those slides directly

exploited the district court’s flawed jury instruction.          Specifically,

Seirus’s counsel showed the erroneous instruction to the jury,

highlighting the following: “Prior art includes things … that were

patented … before the creation of the claimed design.” (Appx1624.) Thus

Seirus reinforced the judge’s erroneous instruction that all prior patents

were “prior art” that “must” be considered in the infringement analysis.



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Without a jury instruction to the contrary, Seirus leaned heavily on prior

art unrelated to the article of manufacture specified in the D’093 patent

to make its non-infringement case.

     Worse yet, another slide compared the D’093 Patent with Seirus’s

HeatWave™ heat reflective material, with all three alleged “prior art”

references positioned in between.




(Appx1663.) Seirus’s argument was that the scope of the D’093 patent is

fenced off (i.e. narrowed) by the three asserted references.             None,

however, should have been presented to the jury as none deal with heat




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reflective materials.4

     Notably, Seirus failed to adduce any evidence that “a person of

ordinary skill would look to such articles” for designing a heat reflective

fabric. Indeed, neither of the designers who testified in the case did.

Moreover, Seirus’s lead witness, its owner and CEO, testified that the

patents were “old,” “difficult to understand,” and for products that are

“not an area that we make product for.” (Appx1064, Appx1072.) Thus,

they would not be relevant under either possible design corpus.

     Accordingly, this Court, exercising de novo review, should find the

district court’s jury instruction was legally erroneous and prejudicial.

Wilkerson, 772 F.3d at 838. The Court should reverse and remand for a

new infringement trial for this reason alone.

     G.    If the Court remands for consideration of any of
           Seirus’s prior art, it should order the district court to
           instruct the jury about the meaning of “heat reflective
           material.”

     As discussed above, none of Seirus’s “prior art” discloses a heat




4 The only one of the three patents to mention the word “heat” is Boorn,

which talks about using heat as part of the manufacturing process, an
application that is irrelevant to the heat reflective materials for hats,
shoes and socks claimed in the D’093 patent. (Appx1465-1466, cols. 3-4.)


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reflective material—a fact that is now law of the case. None of those

references discloses use of metallic foil on a base material to reflect heat,

as the term was defined during reexamination.            (See Appx617-618.)

Notwithstanding those facts, in pretrial briefing, Seirus argued that

Respess, Boorn, and Blauer all disclose “heat reflective materials” based

on abstruse principles of theoretical physics suggesting that all materials

in the universe reflect some nominal amount of heat. This argument does

not pass the red-face test.    This Court has repeatedly rejected such

arguments, including in Eon Corp., 815 F.3d at 1320-1323 (the plain and

ordinary meaning of “mobile” does not include utility meters bolted to

buildings). As discussed above, adopting the Surgisil standard, none of

this art was admissible because none of it was for the same article of

manufacture recited in the claim.

     Moreover, if this Court remands for consideration of any of Seirus’s

art, it should also direct the district court to instruct the jury consistent

with Columbia’s Proposed Instruction 9E. That proposed instruction

concerned the plain and ordinary meaning of “heat reflective materials”

as that term was used in the D’093 Patent:

        The term “Heat Reflective Materials” has its plain
        and ordinary meaning. The ordinary meaning of a


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         claim term is not the meaning of the term in the
         abstract. Instead, the “ordinary meaning” of a claim
         term is its meaning to the ordinary artisan after
         reading the entire patent. In other words, the term
         takes its meaning from the context in which it is used
         in the patent.

         The plain and ordinary meaning of “Heat Reflective
         materials” in the context of the Design Patent does
         not include all materials.

(Appx360-361, quoting largely verbatim from Eon Corp., 815 F.3d at 1320

(Fed. Cir. 2016).)    The district court erred in declining to give this

instruction. Such an instruction is critical to understanding the correct

scope of the patent claim and the prior art, if the jury is allowed to

consider that art at all.

III. The District Court Erred in Prohibiting Columbia’s
     Counsel From Distinguishing Prior Art Based on Whether
     it Was “Heat Reflective.”

      Beyond its failure to properly instruct the jury, the district court

also erred in prohibiting Columbia’s counsel from arguing about the scope

of the relevant comparison prior art.         Seirus moved in limine that

Columbia should not be permitted to distinguish any prior art based on

what it called “functional grounds,” i.e., whether the alleged prior art

reference concerned the relevant article of manufacture, namely, a “heat

reflective material.” The district court held, “[f]unctional grounds are not


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a relevant consideration. So that motion is granted.” (Appx421.) That

precluded Columbia from asking any questions to distinguish the prior

art based on whether it disclosed a “heat reflective material.”

     At trial, when Columbia asked Seirus’s witness what “the purpose

of painting this wavy structure” on the shell of Blauer was, the Court

upheld an objection on the basis that the question violated the in limine

order because it was probative of the “function” of Blauer’s invention.

(Appx1064-1065.)

     The district court’s decision here, too, was wrong for all the reasons

discussed above in connection with this Court’s Curver, Surgisil, and

Hupp decisions. As this Court decided in Surgisil, a design patent claim

is limited to the article of manufacture recited in the claim—here, heat

reflective materials. Surgisil, 14 F.4th at 1382. This does not, as Seirus

incorrectly argued, import a functional limitation into the claim. Instead,

it prevents the claim from “broadly cover[ing] a design in the abstract.”

Id. Just as Surgisil’s design patent did not cover its claimed shape on

any and all articles of manufacture, Columbia’s design patent does not

cover its design regardless of article of manufacture. Instead, the scope

of the D’093 patent, and its relevant comparison prior art, is limited to



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the particular article of manufacture identified in the D’093 patent—a

heat reflective material.




     Columbia should have been permitted to question witnesses and

argue to the jury that asserted prior art was irrelevant to infringement

because it had nothing to do with heat reflective material. Because

comparison prior art is limited by the article of manufacture recited in a

design patent’s claim, it was error for the district court to exclude any

questioning or argument on whether the prior art related to the claimed

article of manufacture.

     Moreover, even if the scope of prior art is not strictly limited to heat

reflective materials, a reasonable jury could decide that the “function” of

the prior art is relevant to whether “a person of ordinary skill would look



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to such articles for their designs.” Hupp, 122 F.3d at 1462. Indeed,

Columbia’s inventor, Zach Snyder, and Seirus’s designer, Sean Carey,

both testified that they were looking for a design that would convey the

idea of reflecting heat and making the user warmer. (Appx785-786,

Appx1111) Whether a prior patent had anything to do with reflecting

heat or making a user warmer would have been directly relevant to

whether an ordinary designer of skill would have “look[ed] to” it for

inspiration. Hupp, 122 F.3d at 1462.

      It was an abuse of discretion to order Columbia not to distinguish

prior art on the basis that it was not a “heat reflective material.” This

Court should reverse and remand this case for a new trial for this

additional reason.

IV.   The District Court Erred by Failing to Instruct the Jury
      That Confusion as to Source is Not an Appropriate
      Consideration For Design Patent Infringement.

      H.     This Court’s precedents confirm that “likelihood of
             confusion” is not an appropriate consideration for
             design patent infringement

      This Court has held that jury instructions concerning design patent

infringement “must … follow the standard articulated in Gorham”:

           [I]f, in the eye of an ordinary observer, giving such
           attention as a purchaser usually gives, two designs


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        are substantially the same, if the resemblance is such
        as to deceive such an observer, inducing him to
        purchase one supposing it to be the other, the first
        one patented is infringed by the other.

Gorham, 81 U.S. at 528; Braun, 975 F.2d at 819.

     But Gorham concerned a typical case where the patent owner

makes a patented product that competes in the marketplace with a

similar product offered by the accused infringer. 81 U.S. at 530. Thus,

the language “if the resemblance is such as to deceive such an observer,

inducing him to purchase one supposing it to be the other,” can logically

apply to such a situation. Consistent with this framework, this Court

has held that, where the patentee makes a product embodying the

invention, it is appropriate to compare the two products to each other.

See Braun, 975 F.2d at 821.

     However, this Court, in Unette, clarified that likelihood of consumer

confusion as to source is not part of the design patent infringement test.

This is especially true where, as here, the patentee does not sell a product

covered by the patent. As Unette points out:

        Likelihood of confusion as to the source of the goods
        is not a necessary or appropriate factor for
        determining infringement of a design patent. The
        holder of a valid design patent need not have
        progressed to the manufacture and distribution of a


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        ‘purchasable’ product for its design patent to be
        infringed by another’s product.

785 F.2d at 1029 (emphases added). The Court further referenced a

“clear line that exists between the test for infringement of a design patent

and the ‘likelihood of confusion’ test for infringement of a trademark.” Id.

     This Court similarly contrasted the tests for trade dress

infringement and design patent infringement in Braun. There, Braun

sued a competitor for both trade dress and design patent infringement

concerning handheld electric blenders.      The jury found for Braun in

regards to both.

     On appeal this Court held that “[d]esign patent infringement does

not concern itself with the broad issue of consumer behavior in the

marketplace,” citing Unette’s language about “likelihood of confusion.”

975 F.2d at 820, 828. The Court ultimately affirmed a finding of design

patent infringement. Id. at 821-22. However, the Court reversed the

verdict of trade dress infringement. Id. at 825-828. Critically, the Court

focused on the brand names, logos, and other source identifying

information on the packaging to conclude that there was no “likelihood of

confusion” for trade dress purposes:




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        Braun identifies its product as a “hand blender” in
        horizontal red letters directly below the brand name
        “Braun” and the product named “Multipractic” in
        plain black lettering. The name Braun also appears
        in stylized black lettering on the white background at
        the bottom of the carton. In contrast, Waring refers
        to its product by its registered trademark “Blendor”
        preceded by the words “Hand Held” in vertical white
        lettering on a grey stripe of the front panel that is
        bordered by a red stripe. Its Waring name appears in
        logo form in white letters on a red rectangle.

Id. at 827-28. The Court also noted: “[i]n addition, Waring’s prominent

labelling of the carton with its brand name and trademark logo is

probative evidence that the cartons are not confusingly similar.” Id. at

828. This lack of likely confusion did not, however, shield the defendant

from design patent infringement. Id. at 821-22.

     Following its key holdings, and in a discrete section of its opinion,

the Court contrasted the standards for design patent infringement and

trade dress in relation to “likelihood of confusion.” Id. at 828. The Court

noted that:

        [P]urchasers’ likelihood of confusion as to the source
        of a good is a necessary factor for determining
        trademark and trade dress infringement. To show
        infringement, the holder of a trademark or trade
        dress therefore must have progressed to the
        manufacture and distribution of a “purchasable”
        product. A[s] a result, consumer behavior in the
        marketplace is a highly relevant factor in


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        determining    trademark        and        trade    dress
        infringement… .

        In contrast, … a different quantum of proof applies to
        design patent infringement, which does not concern
        itself with the broad issue of consumer behavior in
        the marketplace. Unette, 785 F.2d at 1029. The
        single element here required to show design patent
        infringement involves a much narrower field of
        inquiry. In short, a design patentee may prove
        infringement simply by showing that an ordinary
        observer would be deceived by reason of an accused
        device’s ornamental design.

Id. (quote omitted).

     Four years later, the Court reached the same result through a

similar analysis in L.A. Gear. L.A. Gear concerned design patent and

trade dress claims over a “shoe upper.” 988 F.2d at 1121 (citing U.S.

Design Patent No. D’299,081). The D’081 Patent disclosed the surface

ornamentation and design of the shoe upper. Thom McAn copied the

general design of the shoe and also added the brand name “balloons” in a

stylized font as shown below.




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Id. at 1121, 1125.

        Notably, the designs are not identical.            For example, the

crosshatched fabric in the lower portion of the patent drawing is clearly

not the same as the portion under the “balloons” mark. Nonetheless, the

district court found the shoes were “strikingly similar,” and found Thom

McAn liable for both trade dress and design patent infringement. Id. at

1122.

        As in Braun, the Federal Circuit reversed the district court’s finding

of trade dress infringement, finding that the inclusion of the logo was

sufficient to avoid any likelihood of consumer confusion. Id. at 1133-34.

However, the Federal Circuit affirmed the finding of design patent

infringement. In distinguishing the tests for trade dress and design

patent infringement, the Court again held, “[d]esign patent infringement

relates solely to the patented design, and does not require proof of unfair

competition in the marketplace … or allow of avoidance of infringement

by labelling.” Id. at 1126. The Court cited Unette, 785 F.2d at 1029,

further holding that “[l]ikelihood of confusion as to the source of the goods

is not a necessary or appropriate factor for determining infringement of

a design patent.”



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     Unette, Braun, and L.A. Gear establish three principles that help

to inform the basic Gorham standard, particularly where (i) there are not

competing products in the marketplace (Unette), and (ii) source-

identifying information is applied to the accused products (Braun, L.A.

Gear). First, design patent infringement can occur even where the patent

holder does not practice its patent, making a comparison between

“purchasable” products (and the corresponding “deception” described in

Gorham) impossible. Unette, 785 F.2d at 1029. Second, courts must

avoid allowing the jury to apply trademark law’s “likelihood of confusion”

standard to deciding infringement in a design patent case, where source

confusion has no relevance. Id.; Braun, 975 F.2d at 828. Third, as this

Court held in L.A. Gear “[d]esign patent infringement … does not … allow

of avoidance of infringement by labelling.” 988 F.2d at 1126.

     Unette, L.A. Gear, and Braun all remain good law. Robert Bosch,

LLC v. Pylon Mfg. Corp., 719 F.3d 1305, 1316 (Fed. Cir. 2013) (en banc)

(“Panel opinions are, of course, opinions of the court and may only be

changed by the court sitting en banc.”). They have been repeatedly relied

upon by this Court for these holdings. See, e.g., Minka Lighting, Inc. v.

Craftmade Int’l, Inc., 93 Fed. Appx. 214, 217 (Fed. Cir. 2004) (quoting



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Unette on inappositeness of likelihood of confusion standard in design

patent analysis); Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d

1370, 1380 (Fed. Cir. 2002), abrogated on other grounds by Egyptian

Goddess, 543 F.3d 665 (quoting Unette on likelihood of confusion at point

of sale).

      I.      The district court erred in failing to instruct the jury
              on the law as elucidated in Unette, Braun, and L.A.
              Gear

      Where, as here, an accused infringer argues that application of a

logo avoids a likelihood of consumer confusion, a district court must do

more than provide the jury with the basic Gorham standard; it should

also explain that “likelihood of confusion” is not an appropriate

consideration, and that, accordingly, labelling a product with source

identification or branding does not avoid infringement.

      Columbia asked the district court to instruct the jury on these

critical issues, with language that came directly from these three cases.

In its pretrial jury instruction requests, Columbia asked for Requested

Jury Instruction 9B:

            Confusion as to the source or provider of the goods
            accused of infringing is irrelevant to determining
            whether a patent is infringed.



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(Appx348.) That proposed instruction cited Braun and L.A. Gear.

     Columbia also asked for Requested Jury Instruction 9D titled

“Logos/Confusion”:

        Labelling a product with source identification or
        branding does not avoid infringement. Consumer
        confusion as to the source or provider of the products
        is not a consideration in an infringement analysis.

(Appx356 (citing L.A. Gear and Unette).)

     However, at trial, the district court indicated it would give no

instruction on “logos,” “source identification,” or likelihood of consumer

confusion, and would only instruct the jury that it need not find “actual

confusion.” Columbia tried one more time, arguing that, while the court

addressed actual confusion, “the Federal Circuit has been clear that even

a likelihood of confusion is not … [an] appropriate factor in a design

infringement case.” (Appx1159-1160.) Citing Unette, Columbia argued

that the district court should at least include the following instruction on

“likelihood of confusion”:

        You do not need, however, to find that any purchasers
        were actually deceived, nor do you need to find any
        actual confusion or likelihood of confusion
        amongst consumers in the marketplace.

(Appx1481 (Columbia’s Requested modification to Court’s Instruction



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No. 10 (citing Unette)).)

     The district court again refused. This Court should now hold that

the district court’s failure to provide any of Columbia’s requested

clarifying instructions based on Unette, Braun, and L.A. Gear was

reversible error. Gilbrook, 177 F.3d at 860 (“Jury instructions must be

formulated so that they fairly and adequately cover the issues presented

… and are not misleading.”)         That failure necessitates a new trial.

Montgomery Ward, 311 U.S. at 251.

     J.    The district court’s failure to provide a
           Unette/Braun/L.A. Gear clarifying instruction was
           prejudicial

     As noted, where the jury instructions fail to fairly and correctly

cover the law, prejudice is assumed.          Wilkerson, 772 F.3d at 838.

Prejudice is clear here, because Seirus exploited the district court’s

failure to explain the law to the jury on this critical issue. Shortly after

the court denied Columbia’s requests, Seirus misleadingly argued in its

closing that use of Seirus’s brand name, as source identifier, avoided

infringement by eliminating the “deception” referenced in Gorham.

Thus, contrary to this Court’s well-established law, Seirus’s counsel

erroneously argued that the elimination of source confusion by itself was



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a sufficient basis to find no infringement. Seirus’s counsel started by

identifying the following clause in Gorham:

        … the resemblance between the two designs is such
        as to deceive an ordinary observer, inducing him to
        purchase one supposing it to be the other.

(Appx1625 (emphases altered).) Seirus’s counsel then argued to the jury

that there could be no “deception” because the accused HeatWave™

products had a logo that identified Seirus as the source of those products:

        Hard to imagine with all those logos that an
        ordinary observer, the consumer, would be deceived
        … I don’t see how that’s possible because Seirus is
        telling the world this is ours. This is ours.

(Appx1225-1226 (emphases added).)




(Appx1616.)

     But, as confirmed in this Court’s subsequent clarifying decisions,



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Gorham actually had nothing to do with source confusion. While Seirus’s

counsel cleverly mimicked the language of Gorham, the thrust of their

argument undeniably was that consumers seeing a Seirus logo would

know that Columbia was not the source of Seirus’s product.              The

argument openly invited the jury to decide that Seirus’s infringement

was avoided by source-labeling.

     That is precisely the type of analysis that Unette, Braun, and L.A.

Gear held was improper. Seirus’s argument was also precisely the type

of specious analysis that Columbia’s proposed jury instructions would

have precluded.

     Thus, the district court’s failure to instruct the jury on the proper

role—if any—that Seirus’s logo should play in the infringement analysis,

and that a “likelihood of confusion” was not to be considered, was

prejudicial. This Court should remand for a new trial on that additional

basis, with guidance to the district court about proper instructions for

consideration of a logo on an accused product in an infringement analysis.

     K.    This Court’s prior decision in this case does not
           disturb the Court’s earlier precedent

     In the prior appeal of this case, a panel of this Court held that the

district court erred in its reliance on L.A. Gear, and remanded the case


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for trial. At summary judgment, the district court relied on L.A. Gear for

the proposition that “a defendant cannot avoid infringement by merely

affixing its logo to an otherwise infringing design.”         Applying that

principle, the district court “d[id] not consider … the Seirus logo, in the

infringement analysis.” (Appx115.) In reversing, this Court held:

        In evaluating infringement there, we explained that
        design     infringement      is  not    avoided    “by
        labelling.” [L.A. Gear], at 1126. A would-be infringer
        should not escape liability for design patent
        infringement if a design is copied but labeled with its
        name. But L.A. Gear does not prohibit the fact finder
        from considering an ornamental logo, its placement,
        and its appearance as one among other potential
        differences between a patented design and an
        accused one.

Columbia I, 942 F.3d at 1131. However, the L.A. Gear Court’s holding

did not rest on the fact that the product was copied. Its holding was based

on well-established case law, including Unette. And the L.A. Gear Court

expressly declined to consider the ornamental BALLOONS “logo, its

placement, or its appearance” in affirming a finding of design patent

infringement. It affirmed infringement without any such consideration.

     As noted, in remanding this case, this Court should provide

guidance to the district court about how to properly instruct the jury

where a logo is applied to a product accused of infringing a design patent.


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That guidance should be consistent with the holdings of Unette, Braun,

and L.A. Gear. To the extent Columbia I is in conflict with Unette, Braun,

or L.A. Gear, the prior cases control. Deckers Corp. v. United States, 752

F.3d 949, 964 (Fed. Cir. 2014); see also Newell Cos., v. Kenney Mfg. Co.,

864 F.2d 757, 765 (Fed. Cir. 1988) (“Where there is direct conflict, the

precedential decision is the first.”).

      Stripped of its reliance on “copying,” this Court’s holdings in L.A.

Gear and Columbia I are difficult to reconcile.             See 1 McCarthy on

Trademarks and Unfair Competition § 6:11, n. 21 and accompanying text

(5th ed.). This Court’s holding in Columbia I has also led to considerable

uncertainty among litigants and prospective litigants. The design patent

community has questioned whether “Adding a Logo to a Copycat Product

Qualif[ies] as a Successful Design Around?” Stern Kessler, IP Hot Topic:

Does Adding a Logo to a Copycat Product Qualify as a Successful Design

Around?       (available      at         https://www.sternekessler.com/news-

insights/client-alerts/ip-hot-topic-does-adding-logo-copycat-product-

qualify-successful-design).    And would-be infringers have taken note,

relying on a new “logo defense” to design patent infringement.               For

example, in a recently filed case involving design patents for women’s



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clothing, the following product and patent, among others, have been

alleged:

    Peloton Accused Product               Lululemon D903,233 Patent




Lululemon Athletica Canada Inc. v. Peloton Interactive, Inc., Case No.

2:21-CV-9252, ECF 1, p. 13 (C.D. Cal. Nov. 29, 2021) (yellow circle

added). Presumably relying on this Court’s decision in Columbia I, the

defendant filed a declaratory judgment action, arguing that “confusion

between products [is] a virtual impossibility due to the prominent display

of the parties’ respective trademarks on their products …”               Peloton



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Interactive, Inc. v. Lululemon Athletica Canada Inc., Complaint, Case No.

1:21-cv-10071-ALC, ECF 1, ¶ 5 (S.D.N.Y. Nov. 24, 2021).

     Does this Court intend that adding a brand name should be

sufficient to avoid design patent infringement? Or that a jury may even

consider it? Does design patent protection really end when a prominent

label is applied to a product?

     This Court should provide clear guidance, for the benefit of the

district court in this case and others, the role—if any—of logos or other

source identifiers in a design patent infringement analysis.

                             CONCLUSION

     For the reasons stated herein, the Court should reverse the

judgment of non-infringement and remand for a new trial.


     Dated this 13th day of January, 2022.

                                  Respectfully submitted,

                                  /s/ Nika Aldrich
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                                606 16FiledPage: 93 1 Filed:
                                            08/06/2          01/13/2022Page 1 of 1
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                                                                                AUG 06 2021.
                                                                          CLERK US DISTRICT COURT
                                                                       SOUTHERN OiST\'llCT OF CALI FORNIA
                       IN THE UNITED STATES DISTR[CT COUR v                          •.s         DEPUTY


                    FOR THE SOUTHERN DISTRJCT OF CALlFORNIA



COLUMBIA SPORTSWEAR NORTH
AMERICA, INC.,

                     Plaintiff,                           No. 3:17-cv-01781 -HZ

       v.                                                 VERDICT FORM

SEIRUS INNOVATIVE ACCESSORIES,
INC.,

                      Defendant.




      We, the jury, being first duly empaneled and sworn in the above-entitled cause, do
unanimously find as follows:


       1. Has Columbia proved by a preponderance of the evidence that Seirus infringed U.S:
          Patent D657,093 ("Design Patent')'?

            _ _ Yes          --X,..._No



The Presiding Juror should sign and date this Verdict Form.


                     ·DATED this _ __   6~_day       of.August, 2021




 1 - VERDICT FORM

                                           Appx1
CM/ECF - casd                                                                              Page 1 of 1
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                                              Appx2
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                                60916FiledPage: 95 Filed:
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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA



COLUMBIA SPORTSWEAR NORTH                                 No. 3:17-cv-01781-HZ
AMERICA, INC.,
                                                          JUDGMENT
                      Plaintiff,

       v.

SEIRUS INNOVATIVE ACCESSORIES,
INC.,

                      Defendant.

HERNÁNDEZ, District Judge:

       This matter being tried and the jury having rendered its verdict on August 6, 2021, IT IS

ORDERED AND ADJUDGED that judgment is entered in favor of Defendant Seirus Innovative

Accessories, Inc., and against Plaintiff Columbia Sportswear North America, Inc.



                 August 10, 2021
       DATED:____________________________.



                                                   ____________________________________
                                                   MARCO A. HERNÁNDEZ
                                                   United States District Judge



1 – JUDGMENT
                                          Appx3
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                                                                                                                         USO0D657093S


(12) United States Design Patent (10) Patent No.:                                                                                         US D657,093 S
     Snyder                      (45) Date of Patent:                                                                                            Apr. 3, 2012

(54)    HEAT REFLECTIVE MATERIAL                                                                    Primary Examiner * Susan Bennett Hattan
                                                                                                    Assistant Examiner * Barbara B Lohr
(75) Inventor: Zach Snyder, Portland, OR (US)                                                       (74) Attorney, Agent, or Firm * SchWabe, Williamson &
                                                                                                    Wyatt, PC.
(73) Assignee: Columbia Sportswear North America,
               Inc., Portland, OR (US)
                                                                                                    (57)                        CLAIM
(**)    Term:         14 Years                                                                      The ornamental design of a heat re?ective material, as shoWn
                                                                                                    and described.
(21) App1.No.: 29/346,786
(22)    Filed:        Nov. 5, 2009                                                                                        DESCRIPTION
(51)    LOC (9) C1.        ................................................ ..             29-03
(52)    US. Cl.     ................................................. .. D29/101.1                  FIG. 1 is an elevational vieW of a heat re?ective material;
                                                                                                    FIG. 2 is an enlarged elevational vieW thereof, taken from any
(58)    Field of Classi?cation Search ................... .. D5/47,
                                                                                                    area in the design;
                 135/54, 55, 56, 57; D6/582; 1332/40; 442/327,                                      FIG. 3 is a cross-sectional side elevational vieW thereof, taken
                        442/394; D29/100, 101.2, 101.3, 101.4,                                      in the direction of line 3-3 in FIG. 1;
                       1329/1015; 428/196, 131; 451/523, 533,                                       FIG. 4 is a top perspective vieW of the heat re?ective material
                                        451/537, 539; D8/90
        See application ?le for complete search history.                                            as used in a sleeping bag;
                                                                                                    FIG. 5 is a front perspective vieW of the heat re?ective mate
(56)                      References Cited                                                          rial as used in footWear;
                                                                                                    FIG. 6 is a front perspective vieW of the heat re?ective mate
                  U.S. PATENT DOCUMENTS                                                             rial as used in legWear;
                            3/1940                                                                  FIG. 7 is a rear perspective vieW of the heat re?ective material
       D119,351                          Tabin       ............................. ..       D5/56

       D130,877 S *       12/1941        Tips    . . . . . .                    . . . ..    D5/47
                                                                                                    as used in a sock;
       D154,151 S *        6/1949        Ryan ...... ..                                    D6/582   FIG. 8 is a rear perspective vieW of the heat re?ective material
       7,226,879 B2 *      6/2007        Tilton et a1. ..                       .. 442/327          as used in handWear;
       D551,407 S *        9/2007        Caruso et a1.                                     D32/40   FIG. 9 is a front perspective vieW of the heat re?ective mate
       D573,354 S *        7/2008        Nam      . . . . . . . .               . . . ..    D5/62



       D583,568 S *       12/2008        Sordi                                              D5/28   rial as used in outerwear; and,
       D631,262 S *        1/2011        Evans                                         . D5/56      FIG. 10 is a rear perspective vieW of the heat re?ective mate
       D638,224 S *        5/2011        K0 etal.              ..                           D5/56   rial as used in footWear.
             FOREIGN PATENT DOCUMENTS
                                                                                                    The broken lines in the drawings depict environmental sub
                                                                                                    ject matter only and form no part of the claimed design.
JP                63-125525                 8/1988
* cited by examiner                                                                                                  1 Claim, 3 Drawing Sheets




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                                                                                                                                                                          exhibitsticker.com




                                                                                                                                                        EXHIBIT


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                                                                                              Appx4
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                                Appx5
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                                Appx6
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US. Patent       Apr. 3, 2012    Sheet 3 of3             US D657,093 S




                                Appx7
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                   CERTIFICATE OF COMPLIANCE

     1.     This brief complies with the type-volume limitation of

Federal Rules of Appellate Procedure and Federal Circuit Rule 32(b)

because this brief contains 13,993 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(f).

     2.     This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed R. App. P.

32(a)(6) because this brief has been prepared in a proportionally spaced

typeface using Microsoft Word 2016 in 14 point Century Schoolhouse.

     Dated: January 13, 2022.

                                   /s/ Nika Aldrich
                                   Nika Aldrich
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                     CERTIFICATE OF SERVICE

     I hereby certify that a copy of the CORRECTED OPENING

BRIEF OF APPELLANT COLUMBIA SPORTSWEAR NORTH

AMERICA, INC. was served by the Appellate CM/ECF System, on the

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